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          Case 1:16-cv-10181-FDS     1  Date
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                   Supreme Court of the United States
                          Office of the Clerk
                      Washington, DC 20543-0001
                                                                      Scott S. Harris
                                                                      Clerk of the Court
                                                                      (202) 479-3011
                                      June 15, 2020


     Clerk
     United States Court of Appeals for the First Circuit
     United States Courthouse
     1 Courthouse Way
     Boston, MA 02210


           Re: Michael Gould, et al.
               v. Andrew Lipson, in His Official Capacity as Chief of the
               Brookline Police Department, et al.
               No. 18-1272
               (Your No. 17-2202)


     Dear Clerk:

           The Court today entered the following order in the above-entitled case:

           The petition for a writ of certiorari is denied.



                                             Sincerely,




                                             Scott S. Harris, Clerk
